  Case 16-32728         Doc 45    Filed 11/08/18 Entered 11/09/18 09:46:16        Desc Main
                                    Document      Page 1 of 1
                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                         Eastern Division

In Re:                                       )             BK No.:     16-32728
Chadell Tribett                              )
                                             )             Chapter: 13
                                             )
                                                           Honorable Timothy Barnes
                                             )
                                             )
                  Debtor(s)                  )

                     ORDER MODIFYING THE PLAN POST-CONFIRMATION

       THIS MATTER coming to be heard on the DEBTOR'S MOTION TO MODIFY, the Court
having jurisdiction, with due notice having been given,

IT IS HEREBY ORDERED THAT:

  1. The Debtor's plan is modified post-confirmation by increasing the plan payment to $450 a month,
beginning December 2018, until the end of the plan.




                                                        Enter:


                                                                 Timothy A. Barnes
Dated: November 08, 2018                                         United States Bankruptcy Judge

 Prepared by:
 David H. Cutler, esq.
 Cutler & Associates, Ltd.
 4131 Main Street
 Skokie, IL 60076
 Phone: (847) 673-8600
